Case 1:19-cr-00075-LEW Document 83 Filed 08/19/20 Page 1 of 3                      PageID #: 372


                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE

UNITED STATES OF AMERICA                      )
                                              )
      V.                                      )      Docket No. 1:19-cr-00075-LEW
                                              )
SUZANNE E. MUSCARA                            )

                            GOVERNMENT’S RESPONSE TO
                       DEFENDANT’S SENTENCING MEMORANDUM

       The United States of America, by and through its attorneys, Halsey B. Frank, United

States Attorney for the District of Maine, and Andrew McCormack, Assistant United States

Attorney, hereby submits this memorandum in response to the defendant’s sentencing

memorandum. Specifically, the government believes that the application of U.S.S.G. §

3A1.2(b) was appropriate in this case and does not constitute impermissible double counting.

       The defendant’s arguments regarding double counting have been addressed and

dismissed by the 6th Circuit in United States v. Nickerson, 782 Fed.Appx. 377 (6th Cir.

2019)(unpublished). In that case, the defendant pleaded guilty to threatening to assault a federal

official in violation of 18 U.S.C. § 115(a)(1)(B), (b)(4). Id. at 378. In the Presentence Report,

Probation recommended “a six-level enhancement under U.S.S.G. § 3A1.2(b) because

Nickerson’s actions were motivated by [the victim’s] status as a government employee.” Id. at

379. Over Nickerson’s objection, the court applied the six-level enhancement and Nickerson

was sentenced. Id. On appeal, Nickerson argued that his sentence was procedurally

unreasonable because the district court’s application of the § 3A1.2 enhancement amounted to

double counting. Id.

       In its decision, the 6th Circuit specifically addresses the double counting issues raised by

the defendant in her sentencing memorandum. The court states:

              This court has already rejected the argument that U.S.S.G. § 2A6.1 itself
       incorporates victim status into the offense guideline. United States v. Cousins, 469 F.3d
       572, 575 (6th Cir. 2006). As Nickerson acknowledges, the language of § 2A6.1 makes no
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Case 1:19-cr-00075-LEW Document 83 Filed 08/19/20 Page 2 of 3                                      PageID #: 373


           reference to the victim’s status as a government official; in contrast, § 2A6.1 provides the
           same base offense level of 12 to all threatening communications, regardless of whether
           the victim of those threats is a government official. Id.; see also U.S.S.G. Appendix A
           (linking § 2A6.1’s base offense level to offenses with no victim status requirement,
           including 18 U.S.C. §§ 32(c), 35(b), 875(c), 1992(a)(10), 2280, 2291, 2292, 2332a and
           47 U.S.C. 223(a)(1)(C)–(E)). Because “[t]he offense guideline ... does not account for the
           victim being an official[,] no double counting has occurred.” United States v. Talley, 164
           F.3d 989, 1004 (6th Cir. 1999); see also United States v. Green, 25 F.3d 206, 211 (3d Cir.
           1994) (finding no impermissible double counting where U.S.S.G. § 3A1.2 enhancement
           applied to defendant convicted under 18 U.S.C. § 115(a)(1)(B)); United States v.
           Pacione, 950 F.2d 1348, 1356 (7th Cir. 1991) (same).

                   Nickerson’s argument that Amendment 718 to the Guidelines [U.S.S.G. § 2A6.1,
           Application Note 2] vitiates our prior rejection of the double counting argument is also
           unavailing. Nickerson’s proposed reading of the amendment—that courts can only apply
           the § 3A1.2 enhancement alongside a § 2A6.1 enhancement where the underlying
           criminal offense is a violation of 18 U.S.C. § 1521—is inconsistent with the reason for
           the amendment provided by the Sentencing Committee. Reason for Am. 718, U.S.S.G.
           Suppl. to Appendix C at 288–89 (Nov. 1, 2008). The amendment sought to clarify that
           the § 3A1.2 enhancement is applicable when the underlying offense is a violation of 18
           U.S.C. § 1521, but the amendment did not suggest the § 3A1.2 enhancement is applicable
           exclusively when the underlying offense is a violation of 18 U.S.C. § 1521. [emphasis in
           original]. 1 The amendment has no bearing on our earlier reading of § 2A6.1.

                   Nickerson correctly observes that the underlying criminal offense contains a
           requirement that the victim of the threat was a federal official. But the fact that victim
           status was both an element of Nickerson’s underlying offense and an element of one of
           his Guidelines enhancements does not amount to double counting, because the statute and
           the Guidelines enhancements played different roles in determining Nickerson’s ultimate
           sentence. See United States v. Williams, 500 F. App'x 364, 365 (6th Cir. 2012). The
           statutory language in 18 U.S.C. § 115(b)(4) established a statutory maximum of six
           years’ imprisonment for threatening to assault a government official. In contrast, the
           Guidelines “produced a nonbinding recommendation that merely served (along with the
           other factors in 18 U.S.C. § 3553(a)) to guide the court in selecting an appropriate
           sentence” within the range established by § 115(b)(4), not in addition to the range
           established by § 115(b)(4). Williams, 500 F. App'x at 365. In other words, the statute
           used the victim’s status to identify the “outer limits of [the district court’s] sentencing
           discretion,” whereas the Guidelines used the victim’s status to identify “the particular
           sentence recommended by the Sentencing Commission” within those outer limitations.

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    See also United States v. Davila-Bonilla, 2020 WL 4343400 (1st Cir., July 29, 2020) at *8:

           [T]he sentencing commission (the agency that issues and updates the guidelines) amended § 2A6.1's
           commentary to make clear that the § 3A1.2 enhancement applies if the defendant violates 18 U.S.C. §
           1512. See United States v. Nickerson, 782 F. App'x 377, 382 (6th Cir. 2019) (discussing USSG suppl. to
           app. C at 288-89, amend. 718, reason for amend. (2008)). But the amendment does not suggest that the
           enhancement applies only when the defendant violates § 1512. See id. And a quick Westlaw search turns
           up circuit-level cases issued after the amendment that applied the enhancement to threat offenses other than
           § 1512, see, e.g., id. at 378, 382; United States v. Manns, 690 F. App'x 347, 350, 354 (6th Cir. 2017);
           United States v. Conaway, 713 F.3d 897, 899, 903 (7th Cir. 2013)…
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Case 1:19-cr-00075-LEW Document 83 Filed 08/19/20 Page 3 of 3                    PageID #: 374


       Id. No double counting of the victim’s status occurred here. Thus, we uphold the district
       court’s application of the § 3A1.2 enhancement.

Id. at 381-382.

       For the above-stated reasons, the application of U.S.S.G. § 3A1.2 is appropriate in this

case and does not constitute impermissible double counting.

                  Dated at Bangor, Maine this 19th day of August, 2020.

                                                      Respectfully submitted,

                                                      HALSEY B. FRANK
                                                      United States Attorney

                                                      BY: /s/ ANDREW MCCORMACK
                                                      ANDREW McCORMACK
                                                      Assistant U.S. Attorney

                                   CERTIFICATE OF SERVICE

       I hereby certify that on August 19, 2020, I filed the GOVERNMENT’S RESPONSE TO
DEFENDANT’S SENTENCING MEMORANDUM with the Clerk of Court using the CM/ECF
system which will send notification of such filing to the following:

                             James Nixon, Esq., at james_nixon@fd.org


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                                                             United States Attorney

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